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                                                                                       FILED
                                                                                  January 02, 2025
                                                                                CLERK, U.S. DISTRICT COURT
                                                                                WESTERN DISTRICT OF TEXAS

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                            FLORIDA DEPARTMENT OF STATE
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                                  Division of Corporations
August 27, 2024
Paulina Almanza
Pursuant to Chapter 48.062 Florida Statutes, substitute service of process was accepted for
Meridian Services LLC in case number 5:24-CV-00369-JKP-ESC and was filed on August 26,2024
at 5:12 PM.
  Plaintiff(s)
  Mark Ortega
  V.

  Defendant(s)
  DiTommaso Inc., Data King Services of New York Inc., Meridian Services
The Secretary of State does not forward documentation to the defendant. All inquiries on behalf of
this defendant should be made to the attorneys involved.


Fredenca F. McCloud
Processor of Service
Division of Corporations
P.O. Box 6327, Tallahassee, Florida 32314



Letter No. 240826038S0P01
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